Case 1:08-cv-00204 Document 19 Filed 04/04/2008 Page 1 of1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
DARRELL JONES, )
)
Plaintiffj )
)
V. ) NO. 08 C 204
)
Offlcer A.L. PRICE #7552j ) IUDGE BUCKLO

et al., )

) MAGISTRATE SCHENKIER
Defendants. )

NOTICE OF MOTION

 

TO: Blake Wolfe Horwitz
Horwitz, Richardson & Baker, LLC
20 S. Clark St., Suite 500
Chicago, Illinois 60603

PLEASE TAKE NOTICE that on April 10“1j at 9:30 a.rn., or as Soon thereafter as
counsel rnay be heard, before the Honorable Elaine E. Bucklo, or Whornever Shall be Sitting in her
Stead, in Roorn 1441 of the United StateS DiStrict Court for the Northern District of Illinoisj
EaStern DiviSiOn, 219 South Dearborn Street, Chicago, Illinois, 60604j I Will then and there
present the attached INDIVIDUAL DEFENDANTS ’ 12(1)) (6) MOTION TO DISMISS COUNTIV
“§ 1983 EQUAL PROTECTION - CLASS OF ONE ” OF PLAINTIFF ’S COMPLAINT.

Respectfully Subrnitted,

/S/ JOEL G. SANDOVAL

Joel G. Sandoval

ASSiStant Corporation Counsel

30 North LaSalle Street, Suite 1400
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(312) 742-5146

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